                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


HARRY SHAROD JAMES-EL,                     )
                                           )
                     Plaintiff,            )
                                           )
              v.                           )             1:20CV517
                                           )
THE PEOPLE’S REPUBLIC OF                   )
CHINA, et al.,                             )
                                           )
                     Defendant(s).         )


                                          ORDER

       The Order and Recommendation of the United States Magistrate Judge was filed with

the court in accordance with 28 U.S.C. § 636(b) and, on June 12, 2020, was served on the

parties in this action. Plaintiff objected to the Recommendation.

       The court has appropriately reviewed the portions of the Magistrate Judge’s report to

which objection was made and has made a de novo determination which is in accord with the

Magistrate Judge’s report.        The court therefore adopts the Magistrate Judge’s

recommendation.

       IT IS THEREFORE ORDERED that this action is DISMISSED pursuant to 28

U.S.C. § 1915A for failing to state a claim upon which relief may be granted.

       A judgment dismissing this action will be entered contemporaneously with this Order.

       This, the 2nd day of July 2020.

                                           /s/ Loretta C. Biggs
                                           United States District Judge




       Case 1:20-cv-00517-LCB-JLW Document 6 Filed 07/02/20 Page 1 of 1
